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                         Attorneys for Defendant
                     7   Omni Interactions, Inc.

                     8
                                                     UNITED STATES DISTRICT COURT
                     9
                                                             DISTRICT OF NEVADA
                10
                11       DEANDREA CARTER,                                    Case No. 2:20-cv-02185-GMN-NJK

                12                      Plaintiff,                           ORDER GRANTING
                                                                             STIPULATION AND STIPULATION
                                                                                             ORDER TO    TO
                                                                             EXTEND TIME FOR DEFENDANT TO
                13               vs.                                                    PLAINTIFF’S
                                                                             RESPOND TO PLAINTIFF'S
                                                                             COMPLAINT
                                                                             COMPLAINT
                14       OMNI INTERACTIONS, INC.,
                                                                             (First Request)
                15                      Defendant.

                16              Defendant Omni Interactions, Inc. (“Defendant”) by and through its counsel, Jackson
                17       Lewis P.C., and Plaintiff Deandrea Carter (“Plaintiff”) by and through her counsel, Morgan &
                18       Morgan, P.A., hereby stipulate and agree to extend the time for Defendant to file an answer or
                19       otherwise respond to Plaintiff’s Complaint. Defendant was served on December 22, 2020, and
                20       Defendant’s response is due on January 12, 2021. Plaintiff and Defendant have agreed to an
                21       extension of time for Defendant to file a response to the Complaint to allow the parties to engage
                22       in early settlement negotiations to seek resolution of the claims set forth in the Complaint.
                23              The parties agree that the filing of this Stipulation and any other submissions necessary to
                24       comply with Local Rules of Practice prior to Defendant’s responsive pleading, if any, shall not be
                25       used as evidence that Defendant has availed itself of the Court’s jurisdiction, nor shall they be
                26       used as evidence that Defendant has waived any arguments or legal defenses, including, but not
                27       limited to, the enforceability of the arbitration agreement executed by the parties. If the parties’
                28       settlement negotiations do not resolve this matter, and Plaintiff does not otherwise agree to

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    Las Vegas
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                     1   voluntarily stay the matter pending arbitration or dismiss the matter following unsuccessful

                     2   negotiations, Defendant intends to file a motion to compel arbitration based on the applicable

                     3   arbitration agreement, and reserves all rights to do so.

                     4            Defendant shall, therefore, have a twenty-one (21) day extension up to and including

                     5   February 2, 2021, to file a response to Plaintiff’s Complaint.

                     6            This stipulation and order is sought in good faith and not for the purpose of delay. No

                     7   prior request for any extension of time has been made.

                     8            Dated this 11th day of January, 2021.

                     9
                10                                                           JACKSON LEWIS P.C.

                11
                         /s/ Nicolette Best                                  /s/ Daniel I. Aquino
                12       Nicolette Best, Esq.                                Deverie J. Christensen, Bar No. 6596
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                         Matthew Gunter, Esq.                                Las Vegas, Nevada 89101
                14       Florida Bar No. 0077459
                         Pro Hac Vice Pending                                Attorneys for Defendant
                15       Morgan & Morgan, P.A.                               Omni Interactions, Inc.
                         20 N. Orange Ave., 16th Floor
                16       P.O. Box 4979
                         Orlando, FL 32802-4979
                17
                         Attorneys for Plaintiffs
                18
                19
                20                                                     ORDER

                21       IT IS SO ORDERED:
                22
                23              January 12, 2021
                         Dated: ___________________                       ________________________________________
                                                                          U.S. DISTRICT
                                                                          UNITED        COURT/MAGISTRATE
                                                                                   STATES MAGISTRATE JUDGE  JUDGE
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                25
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    Las Vegas
